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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
.                                  MARSHALL DIVISION

    JASON LEE VAN DYKE                            )(      Civil Action No. 2:17-cv-745
        Plaintiff,                                )(
                                                  )(
    vs.                                           )(      Hon. Rodney Gilstrap
                                                  )(
    MOCKINGBIRD PUBLISHING CO.                    )(
    and GERARD BELLO II                           )(      Order Dismissing Case
         Defendants.                              )(

                                     ORDER DISMISSING CASE

          After considering the stipulation of dismissal filed by the parties in this case, it is

    hereby ordered that the above-captioned case is dismissed with prejudice.
         SIGNED this 3rd day of January, 2012.
          SIGNED this 27th day of November, 2017.




                                                         ____________________________________
                                                         ROY S. PAYNE
                                                         UNITED STATES MAGISTRATE JUDGE
